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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

AIR FORCE OFFICER                                      :
                               Plaintiff               :      Case No.: 22-cv-1267 BAH
v.                                                     :
                                                       :
LLOYD J. AUSTIN, III, in his                           :
official capacity as Secretary of Defense;             :
FRANK KENDALL, III, in his                             :
official capacity as Secretary of the Air Force;       :
ROBERT I. MILLER, in his                               :
official capacity as Surgeon General of the            :
Air Force, and                                         :
RUDOLF WILHELM KUEHNE, JR.                             :
in his official capacity as Commander,                 :
Air Force Flight Standards Agency                      :
                                                       :
                               Defendants              :

                   MEMORANDUM IN SUPPORT OF PLAINTIFF’S
                 MOTION FOR LEAVE TO PROCEED ANONYMOUSLY

       Federal Rule of Civil Procedure 10(a) generally requires the title of any Complaint to

name all parties. The party seeking to proceed by way of a pseudonym bears the burden of

identifying the adverse consequences that may occur if they were to be denied the request. In re

Sealed Case, 971 F.3d 324, 326-27 (D.C. Cir. 2020). The DC District Court Local Rules also

require that the “The first filing by or on behalf of a party shall have in the caption the name and

full residence address of the party. If the party does not wisht to appear on the public docket, it

shall omit the address and simultaneously file under seal a notice containing its full address,

which notice shall be available only to the Court and the opposing party.” LCvRs 5.1(c)(1). This

action is against a governmental party, and all defendants are sued solely in their official

capacity, thus there is no risk of unfairness by permitting the plaintiff to proceed anonymously.

Kiakombua v. McAleenan, No. 19-cv-1872 (KBJ), 2019 U.S. Dist. LEXIS 237747, at *12

(D.D.C. July 3, 2019). Courts may be more inclined to permit pseudonymous suits by plaintiffs

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when the government is the defendant or when the plaintiff is a minor. James v. Jacobson, 6 F.3d

233, 238 (4th Cir. 1993); Doe v. Stegall, 653 F.2d 180, 185 (5th Cir. 1981). The D.C. Circuit

Court of Appeals has permitted pseudonymous litigation to proceed without comment on

occasion. See, e.g., Roe v. Wade, 410 U.S. 113 (1973); Doe v. Sullivan, 938 F.2d 1370, 1374

(D.C. Cir. 1991). The age of the internet and search engines have made court filings easily

accessible, thereby supporting the need for cases such as plaintiffs to proceed under pseudonym.

See Jayne S. Ressler, Privacy, Plaintiffs and Pseudonyms: The Anonymous Doe Plaintiff in the

Information Age, 53 Kan. L. Rev 195 (2005) (supports the argument that the digital age and

electronic access of court information support greater use of pseudonyms).

        Plaintiff serves as an active duty service member. The issues raised in the Complaint are

matters related to sensitive, intimate and personal to the plaintiff. Disclosure of plaintiff’s

identity will likely lead both plaintiff and plaintiff’s family to face rebuke from their community,

civilian and military. Plaintiff’s religious beliefs may incite others to retaliate against plaintiff

and his family that will cause physical or mental harm. Indeed, the courts have consistently

permitted active duty service member plaintiffs to proceed using pseudonyms in cases

challenging the military vaccine mandates under the Religious Freedom Restoration Act, First

Amendment, and Fifth Amendment. See Navy Seal 1, et al. v. Austin, et al., Case 1:22-cv-

00688-CKK (D.C.D.) (2022); Air Force Officer v. Austin, et al., Case 5:22-cv-00009-TES (M.D.

Ga.) (2022); U.S. NAVY SEALs 1–26, et al. v. Austin, et al., Case 4:21-cv-01236-O (N.D.Tx.)

(2022). Lastly, as plead in the Complaint, plaintiff has already suffered retaliation by being

removed from a promotion list because of plaintiff’s refusal to get vaccinated based upon a

sincerely held religious belief.

        For all of the aforstated reasons, Plaintiff Officer has a substantial privacy right that can



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only be preserved by proceeding anonymously. The Court should grant Plaintiff Officer leave to

proceed anonymously.


                                                   Respectfully submitted,

                                                      /s/_______________________
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                                                     /s/_______________________
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                                                     /s/________________________
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